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              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF TENNESSEE
                        WESTERN DIVISION

BRANDON SMITH,                               *
individually,                                *
                                             *
      Plaintiff,                             *
                                             *
v.                                           *     Case No.: 2:20-cv-02742
                                             *
COLLIERVILLE EXPRESS                         *
MART, INC,                                   *
a domestic corporation,                      *
                                             *
     Defendant.                              *
______________________________

                                 COMPLAINT

       Plaintiff BRANDON SMITH (“SMITH” or “Plaintiff”) hereby sues

Defendant, COLLIERVILLE EXPRESS MART, INC, (hereinafter “Defendant”)

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”),

and its implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R.

Part 36 (“ADAAG”) and alleges as follows:

                       JURISDICTION AND PARTIES

      1.    This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.




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§ 12181 et seq., based upon Defendant’s, failure to remove physical barriers to

access and violations of Title III of the ADA.

      2.     Venue is properly located in the Western District of Tennessee pursuant

to 28 U.S.C. § 1391(b) because venue lies in the judicial district of the property situs

or the judicial district in which a substantial part of the events or omissions giving

rise to Plaintiff’s claims occurred. The Defendant’s property is located in and

Defendant does business within this judicial district and all events giving rise to this

lawsuit occurred in this judicial district.

      3.     Plaintiff, BRANDON SMITH, is and has been at all times relevant to

the instant matter, a natural person residing in Tennessee and is sui juris.

      4.     Plaintiff is an individual with disabilities as defined by the ADA.

      5.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

      6.     Plaintiff uses a wheelchair for mobility purposes.

      7.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

community more accessible for Plaintiff and others; and pledges to do whatever is


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necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      8.      Defendant, COLLIERVILLE EXPRESS MART, INC, is registered to

and is conducting business in the State of Tennessee and within this judicial district.

                           FACTUAL ALLEGATIONS

      9.      On multiple prior occasions, and most recently in September of 2020,

Plaintiff attempted to but was deterred from patronizing, and/or gaining equal access

as a disabled patron to the Collierville Express Mart filling station and convenience

store located at 100 E US Highway 72, Collierville, Tennessee 38017 (“Subject

Facility”, “Subject Property”).

      10.     COLLIERVILLE EXPRESS MART, INC is the owner, operator,

lessor and/or lessee of the real property and improvements that are the subject of this

action, the filling station and convenience store and its attendant facilities, including

the common vehicular parking and common exterior paths of travel within the parcel

identified by Shelby County Parcel ID# C0258 00015C (“Subject Facility”, “Subject

Property”).

      11.     Plaintiff lives less than two (2) miles from the Subject Property.

Because the Subject Property is located in the immediate vicinity of Plaintiff’s


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residence he is consistently where the Subject Property is located and travels in and

about the immediate area of the Subject Property numerous times every week.

      12.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Subject Property, including those set forth in this

Complaint.

      13.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, once the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron, to

determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      14.    Plaintiff intends on revisiting the Subject Property as a customer to

enjoy the same experiences, goods, and services available to Defendant’ able-bodied

customers as well as for Advocacy Purposes, but does not intend to continue to

repeatedly re-expose himself to the ongoing barriers to equal access and engage in


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the futile gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      15.    Plaintiff recently traveled to the Subject Property as a customer and as

an independent advocate for the disabled, encountered and/or observed the barriers

to access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      16.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a Defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      17.    The Subject Property is a public accommodation and service

establishment.

      18.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      19.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a Defendant has 10 or fewer
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employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     20.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     21.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     22.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those


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barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     23.     Defendant,      COLLIERVILLE       EXPRESS       MART,      INC,     haa

discriminated against Plaintiff (and others with disabilities) by denying his access

to, and full and equal enjoyment of the goods, services, facilities, privileges,

advantages and/or accommodations of the Subject Property, as prohibited by, and

by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

     24.     Defendant, COLLIERVILLE EXPRESS MART, INC, will continue to

discriminate against Plaintiff and others with disabilities unless and until

COLLIERVILLE EXPRESS MART, INC, ia compelled to remove all physical

barriers that exist at the Subject Property, including those specifically set forth

herein, and make the Subject Property accessible to and usable by Plaintiff and other

persons with disabilities.

     25.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:

                             ACCESSIBLE PARKING


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          a. There is no van accessible parking present in violation
             of Section 4.6 of the 1991 ADAAG and Section 502 of
             the 2010 ADAAG. This violation made it dangerous
             Plaintiff to utilize the parking facility at the Subject
             Property and caused Plaintiff undue upset and loss of
             opportunity.

          b. The designated accessible parking space is not level in
             violation of 28 CFR § 36.211, Sections 4.5.1 and 4.6.3
             of the 1991 ADAAG and Sections 302 and 502.4 of the
             2010 ADAAG. This violation made it dangerous for
             Plaintiff to utilize the parking facility at the Subject
             Property and caused Plaintiff undue upset and loss of
             opportunity.

          c. The paint delineating the access aisle is not maintained
             so that it clearly marks the location of the aisle because
             of Defendant’s practice of failing to maintain the
             parking surface in violation of 28 CFR § 36.211,
             Section 4.6 of the 1991 ADAAG, and Section 502.3.3
             of the 2010 ADAAG. This violation made it dangerous
             for Plaintiff to utilize the parking facility at the Subject
             Property and caused Plaintiff undue upset and loss of
             opportunity.

          d. The access aisle serving the designated accessible
             parking space is not level in all directions, in part due
             to the excessive slope of the parking surface, and also
             the sloped obstruction created by the built-up curb
             ramp positioned within the access aisle in violation of
             28 CFR § 36.211, Section 4.6.3 of the 1991 ADAAG
             and Section 502.4 of the 2010 ADAAG. These
             violations made it dangerous for Plaintiff to utilize the
             parking facility at the Subject Property and caused
             Plaintiff undue upset and loss of opportunity.



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                          ACCESSIBLE ROUTES
                               (Exterior)

          e. There is no accessible route provided within the site
             from the public sidewalk which serves the facility.
             Violation: There is no accessible route connecting the
             public sidewalk serving the subject facility and any
             accessible entrance(s) in violation of Section 4.3.2 of
             the 1991 ADAAG and Section 206.2.1 of the 2010
             ADAAG. This violation prevented equal access to the
             Subject Property and caused Plaintiff undue upset and
             loss of opportunity.

          f. The designated accessible parking space is not located
             on the shortest accessible route to the accessible
             entrance in violation of Section 4.6 of the 1991
             ADAAG and Sections 208.3.1 and 502 of the 2010
             ADAAG. This violation prevented equal access to the
             Subject Property and caused Plaintiff undue upset and
             loss of opportunity.

          g. The built-up curb ramp has flared side slopes that are
             too steep. Violation: The curb ramp’s flared side slopes
             exceed 1:10 in violation of Section 4.7.5 of the 1991
             ADAAG and Section 406.3 of the 2010 ADAAG. This
             violation prevented equal access to the plaintiff and
             caused Plaintiff undue upset and loss of opportunity.

          h. The built-up curb ramp has a top landing that is not
             large enough for equal access to wheelchair users in
             violation of Section 4.7.5 and 4.8.4 of the 1991
             ADAAG and Sections 406.3 and 406.4 of the 2010
             ADAAG. This violation caused Plaintiff undue upset
             and loss of opportunity.


                        ACCESSIBLE ENTRANCE

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            i. The accessible entrance door closer closes too quickly.
               Violation: The sweep speed settings of the door closer
               for the accessible entrance door has not been
               maintained properly by Defendant which has caused
               the door closing speed to increase with time and use so
               that the time allowed to transition the door, from an
               open position of 90 degrees to a position of 12 degrees
               from the latch, is too brief to allow individuals with
               mobility impairments to enter and/or exit safely,
               independently and/or without difficulty, in violation of
               Section 4.13.10 of the 1991 ADAAG and Section
               404.2.8 of the 2010 ADAAG. This accessible feature is
               not being maintained by Defendant in violation of 28
               CFR § 36.211. These violations prevented equal access
               to the plaintiff and caused Plaintiff undue upset and
               loss of opportunity.


                     ACCESS TO GOOD AND SERVICES
                                (Interior)

            j. There are insufficient clear widths between aisles and
               turn arounds at the end of aisles caused by merchandise
               routinely placed and/or maintained within the interior
               paths of travel. The interior accessible routes between
               the shopping floor interior aisles and the shopping floor
               perimeter aisles/refrigerated coolers fail to meet the
               minimum maneuverability clearance requirements for
               accessible routes in violation of Section 4.3.3 of the
               1991 ADAAG and Section 403.5 of the 2010 ADAAG.
               These violations caused Plaintiff undue upset and loss
               of opportunity.

            k. The counter upon which the self-serve drink dispensers
               are positioned is too high for equal access to wheelchair
               users. Violation: The self-serve drink dispenser counter

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               is over 34 inches from the floor which is the minimum
               accessible height for a high (side) reach obstruction in
               violation of Section 4.2.6 of the 1991 ADAAG and
               Sections 308.3.2 and 904.5.1 of the 2010 ADAAG.
               This violation prevented access to Plaintiff equal to that
               of able-bodied individuals and caused Plaintiff undue
               upset and loss of opportunity.

            l. The self-serve drink dispensers are positioned too high
               for wheelchairs users to reach. Violation: The operable
               parts of the drink dispensers exceed the maximum
               allowable height for a vertical (forward or side) reach
               over an obstruction in violation of Section 5.2 of the
               1991 ADAAG and Sections 308.3.2 and 904.5.1 of the
               2010 ADAAG. These accessible features are not being
               maintained by Defendant in violation of 28 CFR §
               36.211. These violations prevented Plaintiff’s access to
               these items equal to that of Defendant’s able-bodied
               customers and caused Plaintiff undue upset and loss of
               opportunity.

            m. The sales counter is too high for wheelchair users.
               Violation: The sales counter exceeds the maximum
               allowable height of 36 inches from the finish floor in
               violation of Section 7.2 of the 1991 ADAAG and
               Sections 227.3 and 904.4 of the 2010 ADAAG. This
               violation prevented access to Plaintiff equal to that of
               able-bodied individuals and caused Plaintiff undue
               upset and loss of opportunity.


                          ACCESSIBLE RESTROOM

            n. The toilet is mounted too far (or too near) from the side
               wall. Violation: The toilet is mounted at a
               noncompliant distance from the side wall in violation
               of Section 4.16.2 of the ADAAG and Section 604.2 of

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               the 2010 ADAAG. This violation prevented access to
               the restroom facilities equal to that of able-bodied
               individuals and in so doing caused Plaintiff undue
               upset and loss of opportunity.

            o. The toilet paper dispenser is mounted too far from the
               toilet for access to wheelchair users in violation of
               Section 4.16.6 of the 1991 ADAAG and Section 604.7
               of the 2010 ADAAG. This violation prevented access
               to the restroom facilities equal to that of able-bodied
               individuals and in so doing caused Plaintiff undue
               upset and loss of opportunity.

            p. The restroom sink faucet controls are knobs which
               require tight grasping, pinching, and/or twisting of the
               wrist. Violation: Accessible faucet control hardware is
               not provided for the restroom sink in violation of
               Section 4.19.5 of the 1991 ADAAG and Section 606.4
               of the 2010 ADAAG. This violation prevented access
               to the restroom facilities equal to that of able-bodied
               individuals and in so doing caused Plaintiff undue
               upset and loss of opportunity.


                         MAINTENANCE PRACTICES

            q. Defendant has a practice of failing to maintain the
               accessible features of the facility, creating barriers to
               access for the Plaintiff, as set forth herein, in violation
               of 28 CFR § 36.211. This practice prevented access to
               the plaintiff equal to that of Defendant’ able-bodied
               customers causing Plaintiff undue upset and loss of
               opportunity.

            r. Defendant has a practice of failing to maintain the
               accessible elements at the Subject Facility by
               neglecting its continuing duty to review, inspect, and

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                discover inaccessible transient accessible elements
                which by the nature of their design or placement,
                frequency of usage, exposure to weather and/or other
                factors, are prone to shift from compliant to
                noncompliant so that said elements may be remediated
                and maintained. Defendant failed and continues to fail
                to alter its inadequate maintenance practices to prevent
                future recurrence of noncompliance with dynamic
                accessible elements at the Subject Facility in violation
                of 28 CFR § 36.211, the 1991 ADAAG, and the 2010
                ADAAG. These violations, as set forth hereinabove,
                made it impossible for Plaintiff to experience the same
                access to the goods, services, facilities, privileges,
                advantages and accommodations of the Subject
                Facility as Defendant’ able-bodied patrons and caused
                Plaintiff undue upset and loss of opportunity.

             s. Defendant has failed to modify its discriminatory
                maintenance practices to ensure that, pursuant to its
                continuing duty under the ADA, the Subject Property
                remains readily accessible to and usable by disabled
                individuals, including Plaintiff, as set forth herein, in
                violation of 28 CFR § 36.302 and 36.211. This failure
                by Defendant prevented access to the plaintiff equal to
                that of Defendant’ able-bodied customers causing
                Plaintiff undue upset and loss of opportunity.

      26.    The discriminatory violations described above are not an exhaustive list

of the Defendant’ current barriers to equal access and violations of the ADA because

Plaintiff was unable to access and assess all areas of the subject premises due to the

architectural barriers encountered. A complete list of the subject location’s ADA

violations affecting the Plaintiff as a wheelchair user, and the remedial measures


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necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, he has actual notice that

the Defendant does not intend to comply with the ADA.

      27.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of its design or

placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to noncompliant, so that said elements are discovered and

remediated. Defendant failed and continues to fail to alter its inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      28.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      29.    The foregoing violations are violations of the 1991 ADAAG, and the


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2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      30.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      31.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      32.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      33.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      34.    Removal of the physical barriers and dangerous conditions at the


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Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      35.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      36.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendant’ place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’ facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed


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to comply with this mandate.

       37.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, COLLIERVILLE EXPRESS MART, INC, is required

to remove the physical barriers, dangerous conditions and ADA violations that exist

at the Subject Property, including those alleged herein. Considering the balance of

hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

       38.    Plaintiff’s requested relief serves the public interest.

       39.    Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation from Defendant, COLLIERVILLE EXPRESS MART, INC,

pursuant to 42 U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied

full and equal access to the subject premises, as provided by the ADA unless the

injunctive relief requested herein is granted.

       40.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.


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      WHEREFORE, the Plaintiff prays as follows:

      A.    That the Court find Defendant, COLLIERVILLE
            EXPRESS MART, INC, in violation of the ADA and
            ADAAG;

      B.    That the Court enter an Order requiring Defendant,
            COLLIERVILLE EXPRESS MART, INC, to (i) remove
            the physical barriers to access and (ii) alter the Subject
            Property to make the Subject Property readily accessible
            to and useable by individuals with disabilities to the full
            extent required by Title III of the ADA;

      C.    That the Court enter an Order directing Defendant,
            pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
            to maintain its accessible features and equipment so that
            the facility remains accessible to and useable by
            individuals with disabilities to the full extent required by
            Title III of the ADA;

      D.    That the Court enter an Order directing Defendant to
            implement and carry out effective policies, practices, and
            procedures to maintain the accessible features and
            equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
            §36.211.

      E.    That the Court enter an Order directing Defendant to
            evaluate and neutralize its policies and procedures towards
            persons with disabilities for such reasonable time so as to
            allow them to undertake and complete corrective
            procedures;

      F.    An award of attorneys’ fees, costs (including expert fees),
            and litigation expenses pursuant to 42 U.S.C. § 12205;

      G.    An award of interest upon the original sums of said award
            of attorney’s fees, costs (including expert fees), and other
            expenses of suit; and

      H.    Such other relief as the Court deems just and proper,
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            and/or is allowable under Title III of the Americans with
            Disabilities Act.


      Dated this the 2nd day of October, 2020.


                               Respectfully submitted,

                               By: /s/ J. Luke Sanderson
                               J. Luke Sanderson, Esq.
                               Counsel for Plaintiff
                               Tennessee State Bar No.: 35712



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